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                                                       January 11, 2022



Hon. Paula Xinis
U.S. District Court for the District of Maryland
6500 Cherrywood Lane, Suite 400
Greenbelt, MD 20770

                                      Re:     CASA v. Mayorkas, 8:20-cv-2118-PX

Dear Judge Xinis:

        Plaintiffs submit this letter in advance of the oral argument scheduled for January 18, 2022
to provide information about two developments that bear on the pending motions.

      First, one motion before the Court concerns whether the Preliminary Injunction entered on
September 11, 2020, which limits relief to members of Plaintiff organizations CASA de Maryland
(“CASA”) and Asylum Seeker Advocacy Project (“ASAP”), is workable in practice and prevents
harm to Plaintiffs’ members. See ECF No. 107-1, at 5, 19-21; ECF No. 125, at 10-17. The
government’s most recent report submitted to plaintiffs in Rosario v. United States Citizenship and
Immigration Services, No. 15-0813-JLR (W.D. Wash.) bears on this issue.

        Contrary to Defendants’ representations that the Preliminary Injunction has been fully
effective, see ECF No. 123-1, at 19-20; ECF No. 151, at 2, the Rosario report highlights USCIS’s
ongoing struggle to identify and timely process employment authorization applications of CASA
and ASAP members. According to the report, the agency processed less than half of initial member
applications within the requisite 30 days in December 2021. See Winger Decl., Ex. A (Jan. 5, 2022
Status Report). 1 Agency counsel explained that the agency’s system for identifying CASA and
ASAP members was “deactivated” beginning at the end of November 2021, such that USCIS was
unable to identify member applications for treatment pursuant to this Court’s Preliminary
Injunction. See id., Ex. B (Jan. 5, 2022 Email to Rosario Pls.’ Counsel).

       Plaintiffs’ counsel reached out to Defendants’ counsel on January 11 to better understand
the impact of the system deactivation error on Plaintiffs’ members. Plaintiffs bring this factual
development to the Court’s attention as evidence bearing on whether the Preliminary Injunction’s
member / non-member distinction should be eliminated, as proposed in Plaintiffs’ Motion to
Modify, to protect members from irreparable harm.

        Second, on January 7, 2022, the Ninth Circuit granted the government’s unopposed motion
to voluntarily dismiss its appeal in Behring Regional Center LLC v. Mayorkas, No. 21-16421 (9th
Cir.), Dkt. 15. Accordingly, the government has not appealed or has voluntarily dismissed its


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 Because this Court enjoined application of the Timeline Repeal Rule to CASA and ASAP
members, the data in recent Rosario reports pertain almost exclusively to CASA and ASAP
members. See ECF No. 108, at ¶ 2.
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appeal in every case in which a district court has held that Chad Wolf’s appointment was unlawful
and/or have rejected subsequent attempts to ratify rules promulgated by Mr. Wolf, including in
cases rejecting attempted ratifications by Secretary Mayorkas.

Respectfully submitted,

      /s/                                                  /s/
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